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                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MICHIGAN


VERNON OARD,

                    Plaintiff,
v                                                  Case No. 1:17-CV-1136
                                                   Hon. PAUL L. MALONEY

COUNTY OF MUSKEGON, and
14TH JUDICIAL CIRCUIT COURT,

               Defendants.
__________________________________________________________________

PINSKY, SMITH, FAYETTE            JOHNSON, ROSATI,
  & KENNEDY, LLP                  SCHULTZ & JOPPICH, P.C.
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__________________________________________________________________

                     STIPULATED PROTECTIVE ORDER

        This matter comes before the Court upon the parties’ stipulation as to the

entry of a protective order regarding the disclosure, dissemination, and use of

certain confidential materials. Now, therefore, having been fully advised in the

premises;

        IT IS HEREBY ORDERED THAT:
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      1.     “Confidential Information” as used in this Protective Order shall mean

Plaintiff’s medical, counseling, and therapy records.

      2.     This Stipulated Protective Order (“Protective Order”) shall govern the

use and disclosure of all Confidential Information produced by or on behalf of

Plaintiff in any court appearance, deposition, interrogatory, request for admission,

document production or any other discovery proceeding or exchange of

information in this action, but it does not relate to the use of Confidential

Information at trial.

      3.     Defendant, by stipulating to this Protective Order, does not concede

that any document, material, or information designated by Plaintiff as

"Confidential" is in fact Confidential Information, and Defendant expressly

disagrees that any documents, information or material produced by Plaintiff should

be held in confidence and reserves the right to challenge the such designation(s).

      4.     Plaintiff may designate as “Confidential” any documents or other

materials or information which it and its counsel believe in good faith contain, or

reflect, Confidential Information. The designation of documents or other materials

as “Confidential” shall be made by written notice or by stamping or marking them

“Confidential.” Documents so designated or marked and all Confidential

Information derived therefrom shall be treated in accordance with the terms of this

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Protective Order. If deposition testimony concerning Confidential Information is

requested or elicited, counsel for the designating party may request that the

testimony, and relevant portions of the transcript thereof, be treated as

“Confidential,” within thirty (30) days of receipt of the final transcript. Inadvertent

failure to designate a document or material as “Confidential” may be corrected by

supplemental written notice as soon as is practicable.

      5.     In the event Defendant disagrees with Plaintiff's designation of any

documents or information as “Confidential,” the parties shall first try to resolve

any dispute extra-judicially and in good faith. At a minimum, Defendant shall give

Plaintiff written notice of its disagreement, and Plaintiff shall respond in writing

and substantiate the basis for such designation(s). If the parties cannot resolve the

dispute, Defendant may file a motion challenging Plaintiff's designation of

Confidential Information, and Plaintiff shall bear the burden of establishing that

the document in question is or contains Confidential Information and is properly

designated as “Confidential.” However, until such a time as the Court rules and

resolves the dispute, the designated Confidential Information shall continue to be

subject to this Protective Order.

      6.     Confidential Information shall not be used by any of the parties in this

action or by any other party or entity who receives or is given access thereto as

authorized under this Protective Order, except solely for the purpose of prosecuting


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or defending claims in this action, including any appeals, and/or for settlement

purposes.    Confidential Information shall not be used for any business,

competitive, commercial or any other purpose whatsoever.

      7.    Documents and materials designated “Confidential” shall be

maintained in confidence pursuant to this Protective Order and shall not be

disclosed, disseminated, or revealed to anyone except:

            a.     As required by law or Court Order;

            b.     As agreed upon in writing by the parties;

            c.     Plaintiff and the following representatives of Defendants, to

                   whom disclosure is required for the prosecution or defense of

                   this action and/or evaluation or settlement purposes: Mark

                   Eisenbarth and Kristen Wade;

            d.     Representatives of the Michigan Municipal Risk Management

                   Authority;

            e.     Attorneys of record, their associated attorneys, paralegals,

                   administrative staff;

            f.     Consulting experts or testifying expert witnesses (as provided

                   for in Fed. R. Civ. P. 26(b)), their associates, assistants, and

                   other personnel employed directly by the experts who agree to

                   be bound by the terms of this Protective Order, provided that it


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                    is necessary to disclose the Confidential Information to them

                    for purposes of this action;

             g.     The Court in this action, or any other Court having jurisdiction

                    over discovery procedures in the action, and any court reporter,

                    videographer or typist recording or transcribing testimony in

                    this action, and any outside, independent reproduction services;

             h.     Witnesses (and/or their counsel) during the course of trials,

                    hearings and depositions (or in preparation therefore) in this

                    action, but only if they agree to be bound by the terms of this

                    Protective Order.

      8.     Confidential Information shall remain in the custody of the persons or

entities so authorized to receive them and shall not be provided to other persons or

entities except as provided for in this Protective Order.

      9.     With each disclosure and dissemination of Confidential Information

authorized to receive same pursuant to this Protective Order, the distributing party

agrees to attach a copy of this Protective Order and advise the recipient of this

Protective Order and its restrictions on disclosure, dissemination, and use of

Confidential Information.

      10.    Unless otherwise ordered by the Court or agreed to by the parties

(such as agreed upon redactions), if Defendant seeks to use or file any documents


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and deposition transcripts containing or reflecting Confidential Information with

the Court, Defendant shall notify Plaintiff and afford it no less than three (3)

business days to file a joint motion complying with LR 5.3(b) for leave to seal

pursuant to LR 5.3 and applicable law. Although filed jointly, Plaintiff, as the

designating party, is fully responsible for preparing the joint motion, filing same,

and making any and all arguments in support of the joint motion. Defendant shall

not oppose the joint motion but shall have no further obligations under this

Protective Order, and Defendant does not waive any rights to challenge Plaintiff's

designation of any documents or materials as “Confidential.” If the joint motion is

granted, the Confidential Information shall be filed according to the requirements

of LR 5.3(b), and any filings shall comply with LR 5.3(b).

      11.    Confidential Information used in any court proceeding in connection

with this action shall not lose its confidential status through such use. All such

Confidential Information filed under seal shall be maintained by the Clerk of the

Court separate from the public records in this action and shall be released to

persons or entities other than attorneys for the parties and Court personnel only

upon written agreement of each designating party or upon further order of the

Court entered after reasonable written notice and opportunity to each designating

party to file objections thereto.

      12.    In the event the parties are unable to reach an agreement regarding the


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use of any Confidential Information or sealed documents at trial, the matter shall

be submitted to the Court.

      13.    The provisions of this Protective Order shall not affect, and this Order

does not limit, the use or admissibility of Confidential Information as evidence at

trial, or during an evidentiary hearing in this action, provided that any party may

seek an appropriate Court Order relating to the use of Confidential Information.

Any document, exhibit, or transcript designated Confidential under this Protective

Order, and that is otherwise admissible, may be used at trial, subject to the terms

hereof, or as otherwise ordered by the Court.

      14.    In the event any party in possession of Confidential Information

receives a subpoena or other formal demand from any source whether related to

another cause of action, proceeding, investigation or otherwise, for the production

or disclosure of any Confidential Information, that party shall immediately provide

written notice to all attorneys of record, and shall not interfere with any action

another party may elect to take to protect the Confidential Information. Upon

receipt of the written notice of a subpoena or request for disclosure of Confidential

Information from a party in possession, the burden of responding or opposing the

request rests with the designating party.

      15.    Nothing contained in this Protective Order shall prejudice in any way

the right of any party to seek, by way of consent of the parties or by application to


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the Court, (i) additional protection for specific items of Confidential Information;

or (ii) relief from the provisions of this Protective Order.

      16.    Documents or information produced by any party prior to the entry of

this Protective Order by the Court, and subsequently designated as Confidential

Information by any party within thirty (30) days of the entry of this Protective

Order, will be subject to the provisions of this Protective Order to the same extent

as if the Protective Order had been entered by the Court as of the date the

documents or information were produced.

      17.    The restrictions set forth in this Protective Order shall not apply to

information or material that was, is, or becomes public knowledge in a manner

other than by violation of this Protective Order.

Date: September 4, 2018                         /s/ Paul L. Maloney
                                               Honorable Paul L. Maloney
                                               U.S. District Court Judge

Approved as to Form:

/s/ Erin Dornbos (with consent)
Attorney for Plaintiff

/s/Laura Bailey Brown_______
Attorney for Defendants




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